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                                  IN THE UNITED STATES BANKRUPTCY COURT

                                             FOR THE DISTRICT OF DELAWARE


In re:                                                                               )     Chapter 1 1
                                                                                     )
POPE & TALBOT, INC., et al.,i                                                        )     Case No. 07-11 738 (CSS)
                                                                                     )     (Jointly Administered)
                                                Debtors.                             )
                                                                                     )



              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
               METHODOLOGY AND DISCLAIMER REGARDING
    DEBTORS' SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS OF
                                                        FINANCIAL AFFAIRS2

                                                                         Financial Affairs (the
                        The Schedules of Assets and Liabilities and Statements of

"Schedules and Statements") filed herewith by the debtors and debtors in possession in the
above-captioned cases (collectively, the "Debtors") were prepared pursuant to 11 U.S.C. § 521
and Rule 1007 ofthe Federal Rules of                         Banptcy Procedure (the "Bankptcy Rules") by man-
agement of the Debtors and are unaudited. While the Debtors' management has made every ef-
fort to ensure that the Schedules and Statements are accurate and complete based on information
that was available at the time of preparation, inadvertent errors or omissions may have occurred.
The Schedules and Statements remain subject to further review and verification by the Debtors.
Subsequent information may result in material changes in financial and other data contained in
the Schedules and Statements. Except as noted in the Schedules and Statements, all asset and
liability data contained in the Schedules and Statements are stated in U.S. curency as ofthe
close of  business on October 28, 2007 - the day immediately preceding the Canadian Filng Date


    The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number, are:
    Pope & Talbot, Inc. (7139); Penn Timber, Inc. (7380); Pope & Talbot Lumber Sales, Inc. (7029); Pope & Tal-
    bot Pulp Sales U.S., Inc. (2041); Pope & Talbot Relocation Services, Inc. (9015); Pope & Talbot Spearsh Ltd.
     Parnership (2569); P&T Power Company (2710); Mackenzie Pulp Land Ltd. (CCrn No. 625473); Pope & Tal-
     bot Ltd. (3102); P&T Factoring Limited Partership (1538); P&T Finance One Limited Partnership (8395);
     P&T Finance Three LLC (2468); P&T Finance Two Limited Partnership (7960); P&T Funding Ltd. (3717); and
     P&T LFP Investment Limited Parnership (None). The address for all Debtors is 1500 SW First Avenue, Suite
     200, Portland, Oregon 97201.
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      A Statement of   Financial Affairs or a Schedule of Assets and Liabilities for a particular Debtor begins immedi-
      ately after these Global Notes (as defined below).




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(refer to Paragraph I below for a detailed explanation ofthe Canadian Filing Date). The Debtors
have used their best efforts to compile the information set forth in the Schedules and Statements
from their books and records maintained in the ordinary course of their businesses. The Debtors
reserve their right to amend their Schedules and Statements from time to time as may be neces-
sary or appropriate. These Global Notes and Statement of Limitations, Methodology and Dis-
claimer Regarding Debtors' Statements of Financial Affairs with Schedules (these "Global
Notes") are incorporated by reference in, and comprise an integral par of, the Schedules and
Statements, and should be referred to and reviewed in connection with any review of    the Sched-
ules and Statements.

                         1. Description of         the Cases. On October 29,2007 (the "Canadian Filing
Date"), certain of the Debtors - Pope & Talbot, Inc., Pope & Talbot Ltd., Mackenzie Pulp Land
Ltd., Penn Timber Inc., Pope & Talbot Lumber Sales, Inc., Pope & Talbot Pulp Sales U.S., Inc.,
Pope & Talbot Relocation Services, Inc., P&T Power Company, P&T Finance Three LLC and
P&T Funding Ltd. (collectively, the "Canadian Debtors") - applied for protection from their
creditors in Canada pursuant to the Companies' Creditors Arrangement Act, R.S.e. 1985, c. C-
36(Canada) (the "CCAA"; and the proceedings commenced by the Canadian Debtors thereunder,
the "Canadian Proceedings") in the Ontario Superior Court of Justice (Commercial List) (the
"Ontaro Court"). On the same date, the Ontaro Court issued an "initial order" ("the "CCAA
Initial Order") pursuant to which it, inter alia, granted the application of the Canadian Debtors
for protection under the CCAA, imposed a stay of all proceedings against the Canadian Debtors
and their property, created certain administrative liens, appointed PricewaterhouseCoopers Inc.
as monitor in the CCAA proceedings, and set forth certain other limitations and procedures for
all parties in interest in the Canadian Proceedings. On November 19, 2007, venue ofthe Cana-
dian Proceedings was transferred, pursuant to the Court Jurisdiction and Proceedings Transfer
Act, S.Re. 2003, c. 28, by the Ontaro Cour to the British Columbia Supreme Court, which ac-
cepted venue and extended the stay of proceedings until Januar 15, 2008. On November 19,
2007 (the "Petition Date"), the Debtors filed voluntary petitions with the United States Bank-
ruptcy Court for the District of                  Delaware (the "Bankptcy Court") for reorganization under
Chapter 11 of          title 11, United States Code (as amended, the "Banptcy Code") under case
numbers 07 - 11738 (CSS) through 07 - 11752 (CSS), and orders for relief                   were entered by the
Bankptcy Court. The cases have been consolidated for the purose of joint administration un-
der Case No. 07 - 11738 (CSS). The Debtors currently are operating their businesses as debtors
in possession under the Banptcy Code.

                        2. Basis of          Presentation. For financial reporting purposes, the Debtors pre-
pare consolidated financial statements, which include financial information for all subsidiaries
and which in the past have been filed with the United States Securities and Exchange Commis-
sion (the "SEC") and audited annually. The Schedules and Statements are unaudited and reflect
the Debtors' best efforts to report the assets and liabilities on each Debtor on an unconsolidated
basis. These Schedules and Statements neither purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States ("GAAP"),
nor are the intended to fully reconcile to the financial statements.


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                        3. Summary of Significant Reporting Policies. The Schedules and State-
ments have been signed by R. Neil Stuart, Vice Present and Chief          Financial Officer of Pope &
Talbot, Inc. In reviewing and signing the Schedules and Statements, Mr. Stuar has necessarily
relied upon the efforts, statements and representations of       the accounting and non-accounting per-
sonnellocated at Pope & Talbot's headquarers and operational                        locations. Mr. Stuart has not
(and could not have) personally verified the accuracy of each such statement and representation,
including statements and representations concerning amounts owed to creditors.


               Each of the Debtors made its best effort to report asset, liability, disbursement and
other information on its Schedules and Statements. However, the following qualifications and
limitations apply to each Debtor's Schedules and Statements:

                          (a) For many assets and asset classifications, a location code is in-
   cluded and maintained in the Debtor's accounting and financial systems. The Debtor currently
   maintains three fixed asset systems (GEAC, Worthit, Haggerty). Information from the fixed
   asset sub-systems is consolidated into the Lawson General Ledger. For assets or asset classifi-
   cation for which a location code is available, such assets or asset classifications are reported on
   the appropriate Debtor's Schedules and Statements.

                                       (b) The Debtors maintain information for most liabilities, most nota-
   bly the trade and non-trade accounts payable, in five separate accounts payable systems on be-
   half of all Debtors (Lawson AP, Synergen-6, Synergen-7, MP AC, Haggerty). Therefore, trade
   and non-trade balances are reported on the Schedules and Statements of             Pope & Talbot, Inc.
   and Pope & Talbot, Ltd. However, those liabilities for which the Debtors could determine with
   a reasonable degree of certainty that a Debtor other than Pope & Talbot, Inc. and Pope and
   Talbot, Ltd. are liable are reported on such other Debtor's Schedules and Statements.

                                      (c) Disbursements are made through a centralized and consolidated
   cash management system (Lawson AP) that includes numerous checking accounts held in the
   name of specific Debtors. Therefore, all disbursement information is reported on the Sched-
   ules and Statement of the Debtor which holds the relevant ban account.

                       In addition, the Debtors adopted the following conventions in the preparation of
  the Schedules and Statements:

                                      (d) Debtors. The Debtors maintain separate accounting records for
   each active Debtor entity. Therefore, Separate Schedules and Statements have been filed for
   each of the Debtors based on their own accounting books and records.

                                      (e) Reporting Date. A motion for an order authorizing continued
  payment of         "Gap Claims" that arose after the Canadian Filing Date (October 29,2007) but be-



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    fore the Petition Date (November 19, 2007) was filed with the Bankptcy Court on November
    19,2007. An order granting the relief requested in this motion was entered on November 21,
    2007. Since the Debtors are authorized, in the ordinary course of                                business, to pay Gap Claims
    for goods and services including, but not limited to, wages, salaries, commissions, and taxes in
    the same manner as if such claims had arisen after the Petition Date, assets & liabilities are
    therefore reported in the Debtors' Schedules and Statements as ofthe close of                               business on Oc-
    tober 28, 2007, unless otherwise noted. Due to the limitations of the debtors accounting sys-
    tems, some values represented in the Schedules and Statements presented may have been esti-
    mated.

                                       (f) Book Value. Assets and liabilities of each Debtor are shown on
   the basis of the book value of the asset or liability in the Debtor's accounting books and records,
   unless otherwise noted, rather than the current market values, of such interests in property
   and/or liabilities.

                                       (g) Intellectual Property Rights. Inclusion of certain intellectual prop-
   erty shall not be construed as an admission that such intellectual property rights have not been
   abandoned, have not been terminated or otherwise expired by their terms, or have not been as-
   signed or otherwise transferred pursuant to a sale, acquisition or other transaction. Accord-
   ingly, the Debtors reserve all of their rights with respect to the legal status of such intellectual
   property rights. .

                            (h) Causes of Action. The Debtors have not set forth all causes of ac-
   tion against all third parties as assets in their Schedules and Statements. The Debtors reserve
   all of their rights with respect to any causes of action that they may have, and neither these
   Global Notes nor the Schedules and Statements shall be deemed a waiver of any such causes of
   action.

                                       (i) Executory Contracts. The Debtors have not set forth executory
   contracts as assets in their Schedules and Statements. The Debtors' executory contracts have
   been set forth in Schedule G.

                                       (j Property and equipment - owned. Unless otherwise noted, owned
   property and equipment are stated as book value. Although the Debtors have values recorded
   for owned real property on their books, the Debtors believe such book values may not accu-
   rately reflect the market value ofthe property. The estimated useful lives for the Debtors' as-
   sets at the time they are placed in service are as follows:

              Classifcation                         Description                                                 Life
                                                    Purchased, constructed or upgrading frame
             Buildings                                                                                          20 yrs
                                                    of existing structures
                                                                                                                40 yrs
                                                    Steel/cement




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              Classifcation          Description                                     Life
              Land Improvements     Parking lots, mil site roads, asphalt, excava-   40 yrs
                                    tion, dock improvements
                                    Log asphalt paving                                10 yrs
                                    Mil yard asphalt paving                          1 5 yrs
              Landfills             Includes retirement obligation - see 4.0         Est. U se-
                                                                                     ful Life
              Roads - P &T Deeded Initial road into logging area where no previ-     5 yrs
              Land                  ous roads existed - amortized on balance shee

             Machinery & Equip Lumber: All equipment directly related to the
             ment - Wood Product production oflumber -log in-feeds, barkers,
             -New                log decks, cuff-off equipment, breakdown            10 yrs
                                 equipment, lumber decks, chains, edgers, re-
                                 saw, trimmers, chip & sawdust handler.
                                 Process Control with heavy computer empha-
                                                                                     7 yrs
                                    SIS.
                                    Dry Kiln: All buildings and equipment directl
                                    related to drying of lumber including plumb- 1 5 yrs
                                    ing, pumps, fans, motors, electrcal, etc.
             Machinery & Equip-     Chip & Sawdust handling                        20 yrs
             ment - Pulp Produc-    Pulping Area Machinery & Equipment
             tion - New
                                    Scales & Hoists
                                    Shipping equipment
                                    Effluent Control - Chemical feed systems, fil-
                                    tering systems, conveyors, pump, piping,
                                    chemical storage tanks, etc.
                                    Power & Utilities
                                    Effuent Control: Clarifiers and lagoons.       30 yrs


             Machinery & Equip-     Upgrades, rebuilds, partial replacements         Estimate
             ment - Projects                                                         Useful
                                                                                     Life
             Process Control Equip Hardware and software used in the operations 7 yrs
             Licensed Mobile        Tractors, trailers, pickups, passenger vehicles, 7 yrs
             Equipment              mobile radio systems                             4 yrs
                                    Rebuilt/Used




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              Classifcation             Description                                     Life
              Unlicensed Mobile         Forklifts, carrers                              7 yrs
              Equipment                 Bulldozer - Pulp Mil                            7 yrs
                                        Logging equipment - equipment designed to       5 yrs
                                        handle logs or build roads
                                        Hulls, engines, running gear, radio controls,
              Tugboats                                                                  7 yrs
                                        rigging, etc.
             Office Furniture &         Desks, cabinets, chairs, portable paritions     5 yrs
             Equipment                  Data processing equipment: personal com-
                                        puters, printers, copiers, fax machines, etc.   4 yrs
                                        Software
                                                                                        3 yrs.


   For tax reporting purposes, the company uses the MACRS method of depreciation for US re-
   porting. For Canadian reporting, Canadian law provides an annual capital cost allowance
   (CCA) on undepreciated Capital Cost (UCC) - these Canadian CCA provisions have various
   class codes for categories of assets and each class code has a specific annual maximum allow-
   ance rate that can be applied to the UCC balance if a taxpayer so elects to claim an annual
   CCA deduction on its tax retu. Inasmuch as the Debtors calculate depreciation and amortiza-
   tion monthly, the Schedules and Statements reflect a pro-rated amount of monthly depreciation
   and amortization through October 28,2007.

                                (k) Property and equipment -leased. In the ordinary course of their
   businesses, the Debtors lease furniture, fixtures, and equipment from certain third-party lessors
   for use in the daily operations oftheir businesses. Any such leases are set forth in the Sched-
   ules and Statements. The property subject to such leases is not reflected in the Schedules and
   Statements as either owned property or assets ofthe Debtors or property or assets ofthird-
   paries within the control of   the Debtors. Nothing in the Schedules and Statements is or shall
   be construed as an admission or determination as to legal status of any lease (including whether
   any lease is a true lease or a financing arangement), and the Debtors reserve all rights with re-
   spect to any of such issues.

                          (1) Payments to Creditors and Insiders. On Statement of    Financial
   Affairs 3b, the Debtors have not scheduled payments made to employees who may be deemed
   officers where the employees function in a purely ministerial role and have no material inside
   information.

                          (m) Interests in Subsidiares. Pope & Talbot, Inc. owns directly or in-
  directly the fourteen subsidiaries and affiliates that are Debtors. Equity interests in subsidiaries
  and affiliates primarily arise from common stock ownership or partnership interests. Each


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    Debtor's "Schedule B-Personal Property" lists such Debtor's ownership interests, if any, in sub-
    sidiaries and affiliates. For purposes of                       these Schedules and Statements, the Debtors have
    listed the value of           such ownership interests on the basis of               book value in the Debtors' account-
    ing books and records. However, the book value of such ownership interests may differ sig-
    nificantly from the current market value.

                                        (n) Financial Statements. Pope & Talbot, Inc. is a publicly held cor-
    poration whose common shares were listed on New York Stock Exchange (the "NYSE") under
    the symbol POP until October 3, 2007. As of               this date, listing was moved to the "Pink Sheets."
    Pope & Talbot, Inc. therefore, fies consolidated financial statements and records for the Debt-
    ors anually with the SEC. On September 9,2007, Pope & Talbot, Inc. filed its most recent
    quarerly report on Form 10-Q with the SEC for the period ending June 30,2007. Accordingly,
    the Debtors' Statements of Financial Affairs do not list the names of specific entities to which
    financial statements were provided in the year preceding the commencement of these chapter
    1 1 cases.


                                       (0) Schedule D.

                                                   (i) Except as otherwise agreed pursuant to a stipulation
or agreed order or any other order entered by the Banptcy Court, the Debtors reserve
their rights to dispute or challenge the validity, perfection, or immunity from avoidance
of any lien purported to be granted or perfected in any specific asset to a secured creditor
listed on Schedule D of any Debtor. Moreover, although the Debtors have scheduled
claims of varous creditors as secured claims, the Debtors reserve all rights to dispute or
challenge the secured nature of any such creditor's claim or the characterization of the
structure of any such transaction, or any document or instrument related to such creditor's
claim.

                                                 (ii) In certain instances, a Debtor may be a co-obligor,
 co-mortgagor, or guarantor with respect to scheduled claims of other Debtors. No claim
 set forth on Schedule D of any Debtor is intended to acknowledge claims of creditors that
 are otherwise satisfied or discharged by other entities. The descriptions provided in
 Schedule D are intended only to be a summary. Reference to the applicable loan agree-
ments and related documents is necessary for a complete description of the collateral and
 the natue, extent, and priority of any liens. Nothing in these Global Notes or the Sched-
ules and Statements shall be deemed a modification or interpretation of the terms of such
 agreements. Holders of secured claims by virte of holding setoff rights against the
Debtors are not included on Schedule D. To the extent that the Debtors are paries to
capital     leases, the Debtors have treated those leases as executory contracts, which may be
shown on Schedule G. However, the Debtors reserve their rights to assert that such capi-
tal     leases are secured financings, rather than unexpired leases.




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                           (p) Schedule F. In certain instances, a Debtor may be a co-obligor,
    co-mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no claim set
    forth on Schedule F of any Debtor is intended to acknowledge claims of creditors that are oth-
    erwise satisfied or discharged by other entities. The descriptions provided in Schedule Fare
    intended only to be a summar. Nothing in these Global Notes or the Schedules and State-
    ments shall be deemed a modification or interpretation of the terms of such agreements. The
    claims of individual creditors for, among other things, merchandise, goods, services or taxes
    are listed at the amounts listed on the Debtors' books and records and may not reflect credits or
    allowances due from such creditor. The Debtors reserve all of their rights respecting such
    credits and allowances. The dollar amounts listed may be exclusive of contingent and unliqui-
   dated amounts. The Debtors expressly incorporate by reference into Schedule F all paries to
   pending and potential pending litigation listed in the Debtors' Statements as contingent, unliq-
   uidated and disputed claims to the extent not already listed on Schedule F. All parties to
   executory contracts, including those listed on Schedule G, are holders of contingent and unliq-
   uidated unsecured claims arising from (i) obligations under those executory contracts and/or (ii)
   rejection damages in the event that such executory contract is rejected. Not all such claims are
   duplicated on Schedule F.

                                  (q) Schedule G:

                                  (i) The businesses of      the Debtors are complex. While
every effort has been made to ensure the accuracy of the Schedule of Executory Contracts,
inadvertent errors or omissions may have occurred. The Debtors hereby reserve all of
their rights to dispute the validity, status, or enforceability of any contracts, agreements,
or leases set forth in Schedule G and to amend or supplement such Schedule as necessary.

                                        (ii) The contracts, agreements, and leases listed on
Schedule G may have expired or may have been modified, amended, or supplemented
from time to time by various amendments, restatements, waivers, estoppel certificates,
letters, and other documents, instruments, and agreements that may not be listed therein.
Certain of the real property leases listed on Schedule G may contain renewal options,
guarantees of          payment, options to purchase, rights of                  first refusal, rights to lease addi-
tional space, and other miscellaneous rights. Such rights, powers, duties, and obligations
are not set forth on Schedule G. Certain of                           the executory agreements may not have been
memorialized and could be subject to dispute. Executory agreements that are oral in na-
ture have been scheduled to the best ofthe Debtors' knowledge. Schedule G does not in-
clude stand alone purchase orders for goods or equipment or nondisclosure agreements.
Schedule G does not include all of the Debtors' bid proposals entered into by the Debtors
in the ordinary course of their business because the Debtors do not consider such docu-
ments to be executory contracts. Additionally, the Debtors may be paries to various
other agreements concerning real property, such as easements, rights of                              way, subordina-
tion, non-disturbance, and attornent agreements, supplemental agreements, amend-
ments/letter agreements, title documents, consents, site plans, maps, and other miscella-



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neous agreements. Such documents are not set forth in Schedule G. Certain ofthe
agreements listed on Schedule G may be in the nature of conditional sales agreements or
secured financings.

                                                   (iii) The presence of a contract or agreement on this
schedule does not constitute an admission that such contract or agreement is an executory
contract or unexpired lease. The Debtors reserve all of their rights, claims, and causes of
action with respect to the contracts and agreements listed on these Schedules.

                                       (r) Statement of         Financial Affairs. Both questions 3b and 23 in the
   statement of financial affairs request information regarding payments to insiders. The Debtors
   have listed expense reimbursements, gross wages and bonuses to their insiders in response to
   question 3b.


                                            Merchandise and Raw Materials. The Debtors in the
                                       (s) Returns of

   ordinary course of their business either negotiate a price adjustment for the damaged, recalled
   and defective merchandise or return such merchandise to the manufacturer for credit which is
   in either Schedule F or B- 16. The Debtors have not listed returns of damaged and defective
   merchandise in response to question 5 of the SOFA.

               4. Claims. The Debtors' Schedules list creditors and set forth the Debtors' es-
timate ofthe number of claims of creditors as of           business on October 28,2007.
                                                                     the close of

Payments have been made subsequently to certain claimants pursuant to Bankptcy Court or-
ders in the Debtors' cases. The Bankptcy Court has authorized the Debtors, among other mat-
ters, to continue certain customer practices and programs; to pay prepetition wages, salaries, and
employee benefits; to pay critical vendor claims; to pay prepetition trust fund, use, and other
taxes; and to pay certain prepetition freight carrer and related charges. The Debtors have at-
tempted to reflect these subsequent payments in the Schedules and Statements, but the actual un-
paid claims of creditors may differ from the amounts set forth in the Schedules and Statements.

                        5. Employee Claims. The Banptcy Court entered a first day order (the
"Employee Wages Order") granting authority to the Debtors to pay prepetition and postpetition
employee wages, salaries, benefits, and other obligations for employees. Pursuant to such the
Employee Wages Order, the Debtors believe that any employee claims for prepetition amounts
either have been satisfied or are in the process of being satisfied. Accordingly, employee claims
for amounts owing as of the end of the day on October 28, 2007 that have been paid or that are
intended to be paid have not been included in the Schedules and Statements. The Debtors have,
however, included severance obligations not paid to date in the Schedules and Statements.

                       6. Disputed. Contingent. and/or Unliquidated Claims. Schedules D, E, and F
permit each of the Debtors to designate a claim as disputed, contingent, and/or unliquidated. A
failure to designate a claim on any of these schedules as disputed, contingent, and/or unliqui-
dated does not constitute an admission that such claim is not subject to objection. The Debtors



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 reserve the right to dispute, or assert offsets or defenses to any claim reflected on these Sched-
 ules as to nature, amount, liability, or status or to otherwise subsequently designate any claim as
 disputed, contingent or unliquidated.

                        7. Insurance. Pope & Talbot, Inc. maintains generalliability insurance poli-
 cies, and varous other insurance policies, on behalf of all the Debtors. A listing of all such in-
 surance policies is set forth on each Debtor's Schedule B9.

                        8. Inventory. The Debtors routinely perform manual counts oftheir inven-
tory, and record the results of such manual counts through cycle count sheets. In the event of a
discrepancy, the Debtors recount and perform a book adjustment for such recount results. The
Debtors have provided the book value of inventory as of October 28, 2007 on the Schedule of
Assets and Liabilities. Inventory values set forth on the Schedules of Assets and Liabilities are
at cost.

                       9. Global Notes Control. In the event that the Schedules and Statements dif-
fer from these Global Notes, these Global Notes shall control.




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UNITED STATES BANKUPTCY COURT
DISTRICT OF DELA WARE



In re:
                                                                           Case No. 07 - I I 740 (eSS)
Pope & Talbot Lumber Sales, Inc.                                           Jointly Administered
                                                                           Chapter I I
         Debtor




                                                             STATEMENT OF FINANCIAL AFFAIRS



              This statement is to be completed by eveiy debtor. Spouses filing a joint petition may fie a single statement on which the information for both
              spouses is combined. If the case is fied under chapter 12 or chapter 13, a marred debtor must furnish information for both spouses whether or
              not a joint petition is fied, unless the spouses are separated and a joint petition is not fied. An individual debtor engaged in business as a sole
              proprietor, parter, family farmer, or self-employed professional, should provide the information requested on ths statement concernng all such
              activities as well as the individual's personal affairs.


                                                                                                                               complete
              Questions 1-16 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must Questions 17-
              25. If the answer to any question is "None," or the question is not applicable, mark the box labeled "None." If additional space is needed for the
              answer to any question, use and attch a separate sheet properly identified with the case name, case number (if known), and the number of the
              question.




DEFINITIONS


                 "il business." A debtor is "in business" for the purpose of ths form if the debtor is a corporation or partership. An individual debtor is "in
              business" for the purpose of this form if the debtor is or has been, within the two years immediately preceding the fiing of ths bankptcy case,
              any of the following: an offcer, director, managing executive, or person in control of a corporation; a parter, other than a limited parter, of a
              partership; a sole proprietor or self-employed.



                  "Insider." The term "insider" includes but is not lirnted to: relatives of the debtor; general parters of the debtor and their relatives;
              corporations ofwhich     the debtor is an officer, director, or person in control; offcers, directors, and any person in control of a corporate debtor and
              their relatives; affliates of the debtor and insiders of such affliates; any managing agent of the debtor. 11 v.s.e. § 101(3 I).
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UNITED STATES BANKUPCY COURT
DISTRICT OF DELA WARE

In re: Pope & Talbot Lumber Sales, Inc.
Case No. 07 - 1 1740 (CSS)


1. Income from Employment or Operation of Business
                State the gross amount of income the debtor has received from employment, trde, or profession, or from
                operation of the debtots business from the beginnng of this calendar year to the date this case was commenced.
                State also the gross amounts received durg the two years immediately preceding this calendar year. (A debtor
                that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
None D          report fiscal year income. IdentifY the beginning and ending dates of the debtor's fiscal year.)




     AMOUNT                                 SOURCE                                                PERIOD

 $    42,065,405                          Gross Revenues                                   01/01/2007- 1 0/28/2007




      63,895,114                          Gross Revenues                                   01/01/2006- 12/31/2006




      61,913,679                          Gross Revenues                                   01/01/2005- 12/31/005


General Note:
(1) The Company acquires all lumber from the Canadian lumber mills that are imported into the U.S. and holds the lumber for
sale at vanous vendor managed locations.




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2. Income Other than from Employment or Operation of Business

              State the amount of income received by the debtor other than from employment, trde, profession, or operation of
              the debtor's business durng the two years immediately preceding the commencement of     this case. Give
              paricular.
None 0


   AMOUNT                                    SOURCE                                                 PERIOD




                                                                          Page 3 of 30                                          SOFA 2
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3. Payments to Creditors
                                a. List all payments on loans, installment purchases of goods or services, and other debts,
                                aggregating more than $600 to any creditor, made with 90 days immediately preceding the
None 0                          commencement of     ths case.



  NAME AN ADDRESS
        OF CREDITOR                         DATES OF PAYMENTS                                     AMOUNT PAID




                               b. List all payments made within one year immediately preceding the commencement of          this
None 0                          case to or for the benefit of creditors who are or were insiders.


  NAME AND ADDRESS
   OF CREDITOR AN
   RELATIONSHIP TO
       DEBTOR                               DATES OF PAYMENTS                                     AMOUNT PAI




Note:
(1) Payments to insiders were made out of     Pope & Talbot, Inc. Case No. 07-11738 (CSS). Refer to Statement 3b of       Pope and
Talbot, Inc. for a detailed listing of corporate insider payments made within one year immediately preceding the
commencement of     this case.




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4. Suits and Administrative Proceedings, Executions, Garnishments and Attachments

                                          a. List all suits and adrninistrtive proceedings to which the debtor is or was a part with one year
None 0                                    immediately preceding the fiing of    this bankptcy case.

  CAPION OF SUIT AND CASE                         NATURE OF                                                                    STATUS    OR
              NUMBER                             PROCEEDING                            COURT AND LOCATION                     DISPOSITION




                                          b. Describe all propert that has been attached, garnished, or seized under any legal or equitable
None 0                                    process with one year immediately preceding the commencement of        this case.

                D              ~F
 PERSON FOR WHOSE BENEFIT
     PROPERTY WAS SEIZED                      DATE OF SEIZURE                         DESCRIPTION AN VALUE OF PROPERTY




                                                                          Page 5 of 30                                                          SOFA   4
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5. Repossession, Foreclosures and Returns


                               List all propert that has been repossessed by a creditor, sold at a foreclosure sale,
                              transfered though a deed in lieu of foreclosure or retued to the seller, within one
None 0                        year immediately preceding the commencement of ths case.

                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                FORECLOSURE, SALE,                       DESCRIPTION AN VALUE OF
CREDITOR OR SELLER                TRASFER, OR RETURN                               PROPERTY




                                                                        Page 6 of 30                                          SOFA 5
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6. Assignments and Receiverships


                        a. Descnbe any assignent of propert for the benefit of creditors made within 120 days immediately
None 0                  preceding the commencement of this case.



NAME AN ADDRESS
     OF ASSIGNEE             DATE OF ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT




                        b. List all propert which has been in the hands of a custodian, receiver, or cour-appointed offcial
None 0                  with one year immediately preceding the commencement of this case.


      NAME AND              NAME AN LOCATION OF
    ADDRESSES OF            COURT CASE TITLE AND                DATE OF
      CUSTODIAN                   NUMBER                         ORDER         DESCRIPTION AN VALUE OF PROPERTY




                                                                      Page 7 000                                              SOFA 6
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7. Gifts

                  List all gifts or chartable contrbutions made within one year immediately preceding the
                  commencement of ths case except ordinar and usual gifts to family members aggregating less than
                  $200 in value per individual family member and charitable contrbutions aggregating less than $ 1 00
None 0            per recipient.



  NAME AN ADDRESS OF
                                   RELATIONSHIP TO DEBTOR, IF                                     DESCRIPTION AND
      PERSON OR                                                               DATE OF GIFT
    ORGANIZATION
                                                   AN                                              VALUE OF GIFT




                                                                      Page 8 000                                          SOFA 7
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8. Losses


                     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
None 0               commencement of     this case or since the commencement of    this case.


  DESCRIPTION
                     DESCRIPTION OF CIRCUMSTANCES AN IF LOSS WAS RECOVERED
 AN VALUE OF                                                                                                 DATE OF LOSS
                        IN WHOLE OR IN PART BY INSURACE, GIVE PARTICULARS
    PROPERTY




                                                                       Page 9 000                                             SOFA 8
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9. Payments Related to Debt Counseling or Bankruptcy

                                           List all payments made or propert trsferred by or on behalf of the debtor to any persons,
                                           including attorneys, for consultation concerning debt consolidation, relief   under the banptcy
                                           law or prepartion of a petition in banptcy withi one year immediately preceding the
None 0                                     commencement of     this case.



                                                                                                  AMOUNT OF MONEY OR DESCRIPTION
  NAME AN ADDRESS OF PAYEE'I)                           DATE OF PAYMENT                               AND VALUE OF PROPERTY




Note:
(1 J All payments relating to debt counseling and bankptcy have been made by Pope & Talbot, Inc. or Pope & Talbot, Ltd. Refer to Pope &
Talbot, Inc. Case No. 07- 11738 CCSS) and Pope & Talbot, Ltd. Case No. 07- 11746 CCSS).




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10. Other Transfers
                                                                                                   the business or financial affairs
                      List all other propert, other than propert transferred in the ordinary course of

                      ofthe debtor, trnsferred either absolutely or as securty with one year immediately preceding the
None 0                commencement of ths case.

   NAME AN ADDRESS OF TRSFEREE,                                                      DESCRIBE PROPERTY TRASFERRD AN
      RELATIONSHIP TO DEBTOR                                    DATE                                 VALUE RECEIVED




                                                                         Page 11 of 30                                                 SOFA 10
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11. Closed Financial Accounts


            List all fmancial accounts and instrents held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
            otherwise trnsferred within one year immediately preceding the commencement of this case. Include checkig, savings, or other
            financial accounts, certificates of deposit, or other instrents; shares and share accounts held in ban, credit unions, pension fuds,
None 0 cooperatives, associations, brokerage houses and other financial institutions.



   NAME AN ADDRESS OF INSTITUTION                       TYE AN NUMBER OF ACCOUNT AN AMOUNT OF FINAL BALACE




                                                                    Page 12 of 30                                                            SOFA 11
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12. Safe Deposit Boxes

                         List each safe deposit or other box or depository in which the debtor has or had securties, cash, or other valuables withn one
None 0                   year immediately preceding the commencement of        ths case.


      NAME AN
   ADDRESSES OF                                                                                                               DATE OF TRASFER
  BANK OR OTHER           NAMES AND ADDRESSES OF THOSE WITH ACCESS TO BOX                            DESCRIPTION OF           OR SURRNDER, IF
   DEPOSITORY                            OR DEPOSITORY                                                 CONTENTS                         AN




                                                                          Page 13 of 30                                                           SOFA 12
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13. Setoffs


                     List all setoffs made by any creditor, including a ban, against a debt or deposit of   the debtor within 90
None 0              days preceding the commencement of        this case.

   NAME AND
  ADDRESS OF
   CREDITOR                                    DATE OF SETOFF                                         AMOUNT OF SETOFF




                                                                           Page 14 of30                                            SOFA 13
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14. Property Held for Another Person

None 0                  List all propert owned by another person that the debtor holds or controls.

     NAME AN
    ADDRESS OF
       OWNR                  DESCRIPTION AN VALUE OF PROPERTY                         LOCATION OF PROPERTY




                                                                     Page 15 000                                      SOFA 14
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15. Prior Address of Debtor
                                          If the debtor has moved withn the two years immediately preceding the
                                          commencement of    this case, list all premises which the debtor occupied durg that
None 0                                    period and vacated prior to the commencement of ths case.


                                                                                                              DATE OF
                   ADDRESS                                       NAME USED                                   OCCUPANCY




                                                             Page 16 000                                                        SOFA 15
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16. Spouses and Former Spouses


               If the debtor resides or resided in a communty propert state, commonwealth or terrtory (including Alaska, Anzona,
               Californa, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washigton, or Wisconsin) with the six-year
               period immediately preceding the commencement of the case, identifY the name of the debtor's spouse and of any former
               spouse who resides or resided with the debtor in the community propert state.
None 0


                                                                NAM




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17. Environmental Information
            For the purose of     this question, the following definitions apply:

            "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases
            of hazrdous or toxic substances, wastes or material into the air, land, soil;, sudace water, groundwater, or other medium,
            including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or materiaL.

            "Site" means any location, facility, or propert as defined under any Environmental law, whether or not presently or
            fonnerly owned or operated by the debtor, including, but not limited to, disposal sites.

            "Hazardous Material" means anyting defined as a hazardous waste, hazardous substance, toxic substance, hazardous
            material, pollutant, or contamiant or similar tenn under an Environmental Law.



None 0 a. List the name and address of every site for which the debtor has received notice in writing by a governental unt
           that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governental unit,
           the date of the notice, and, if known, the Environmental Law.



                                                NAM AN ADDRESS OF                        DATE OF
SITE NAME AN ADDRESS'I)                         GOVERNNMENTAL UNIT                        NOTICE            ENVIRONMENTAL LAW




None 0 b. List the name and address of every site for which the debtor provided notice to a governental unt of a release of
             Hazardous MateraL. Indicate the governental unt to which the notice was sent and the date of the notice.




                                                NAME AND ADDRESS OF                      DATE OF
                                        iii
SITE NAM AND ADDRESS                            GOVERNMENTAL UNIT                        NOTICE             ENVIRONMENTAL LAW




None 0 c. List all judicial or administrtive proceedings, including settlements or orders, under any Environmental Law with
             respect to which the debtor is or was a part. Indicate the name and address of the governental unt that is or was a
             part to the proceeding, and the docket number.




  NAME AND ADDRESS OF
                                  iii
  GOVERNMENTAL UNIT                                 DOCKET NUMBER                               STATUS OR DISPOSITION




Note:
(1) Refer to Statement 17 of    the Statement of    Financial Affairs for Pope & Talbot Inc., Case No. 07 - 11738 (CSS) and Pope & Talbot,
Ltd., Case No. 07- 11746 for listings of      the known environmental matters.




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18. Nature, Location and Name of                        Business
a. If the debtor is an individual, list the names and addresses of all businesses in which the debtor was an offcer, director, parter, or managing
executive of a corporation, partership, sole proprietorship or was a self-employed professional within the two years immediately preceding the
commencement of      ths case, or in which the debtor owned 5 percent or more of     the voting or equity securties within the two years illlediately
precedig the commencement of        ths case.


b. If   the debtor is a partnership, list the names and addresses of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting securties, with the two years immediately preceding the commencement of            this case.

c. If the debtor is a corporation, list the names and addresses of all businesses in which the debtor was a partner, or owned 5% or more of the
voting or equity securties with the six year immediately preceding the commencernent of          this case.

None 0


                                                                                                  NATURE OF            BEGINNING AN ENDING
                   NAME                                       ADDRESS
                                                                                                   BUSINESS             DATES OF OPERATION




                                                                            Page 19 000                                                                 SOFA 18
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19. Books, Records and Financial Statements
                                          a. List all bookkeepers and accountants who within the six years immediately
                                          preceeding the fiing of ths banptcy case kept or supervised the keeping of the
                                          books.


            NAME AND ADDRESS
                                                                                                       DATES SERVICES
                                                                   TITLE
                                                                                                         RENDERED
Neil Stu
1500 SW Firt Avenue, Ste 200                              Chief   Financial Offcer                      12/05/2006 - Present
Portland, OR 97201

Mara Pope
                                                          Chief Financial Offcer                      05/16/1999 - 12/15/2003
1717 SW Elm Street
                                                      Interim ChiefFinancial Offcer                   06/16/2006 - 12/05/2006
Portland, OR 97201

Richard Atkson
19735 Oak Grove Avenue                                    Chief   Financial Offcer                    12/15/2003 - 06/16/2006
Prior Lake, MN 55372

Laur Cooper
1500 SW First Avenue, Ste 200                                     Secretary                             12/23/2005 - Present
Portland, OR 97201

Gerald Brickey
141 Gradview Terrce                                               Secretar                            06/15/1998 - 12/23/2005
Longview, WA 97632




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19. Books, Records and Financial Statements
                                                        b. List all firms or individuals who with the two year immediately preceding the
                                                        filing of ths banptcy case have audited the books of account and records, or
                                                        prepared a financial statement of the debtor.


            NAME AN ADDRESS                                                                                        DATES SERVICES
                                                                                 TITLE
                                                                                                                     RENDERED
KPMG, LLP
1300 SW Fifth Ave
                                                                                 Auditor                           12/31/2002 - Present
Ste 3800
Portland, OR 97201

Note:
(1) The audits for 2005 and 2006 were conducted as part of     the consolidated audit for Pope & Talbot, Inc., by KPMG, LLP. Refer to Pope
& Talbot, Inc., Case No. 07 - 11738 (CSS).




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19. Books, Records and Financial Statements
                                          c. List all firms or individuals who at the time of
                                                                                           the commencement of     this case were
                                          in possession of the books of account and records of the debtor. If any of the books of
                                          account and records are not available, explain.


            NAME AN ADDRESS                                                                             DATES SERVICES
                                                                    TITLE
                                                                                                          RENDERED
Neil Stuar
1500 SW First Avenue, Suite 200                            Chief   Financial Offcer                      12/05/2006 - Present
Portland, OR 97201

Laur Cooper
1500 SW Firt A venue, Suite 200                                    Secretar                              12/23/2005 - Present
Portland, OR 97201




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19. Books, Records and Financial Statements
                                                                d. List all financial institutions, creditors and other parties, including
                                                                mercantile and trade agencies, to whom a financia1 statement was
                                                                issued within the two year immediately preceding the
None 0                                                          commencement of      this case by a debtor.


                 NAME AND ADDRESS                           I                     DATES SERVICES RENDERED




Note:
Ii) Generally, in the ordinar coure, the Debtor's financia1 information is consolidated as par of Pope & Talbot, Inc., which may
have been provided to certain regulatory agencies, ban, customers, suppliers, rating agencies and various other interested parties.




                                                                         Page 23 000                                                         SOFA 19D
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20. Inventories

                                               a. List the dates of the last two inventories taen of    your propert, the name of    the person who supervised
None D                                         the tag of each inventory, and the dollar amount and basis of each inventory.




        DATE OF INVENTORY III                             INVENTORY SUPERVISOR                                  DOLLAR AMOUNT OF INVENTORY

9/27/2007: Blue Lin
                                                                        Ar Parker                          $                                             407,162
            Pensacola, FL


9/26/2007: Blue Lin
                                                                        Ar Parker                                                                        206,202
            Memphis, TN


9/25/2007: Blue Lin
                                                                        Ar Parker                                                                        406,309
            Nashvile, TN




                                               b. List the name and address of      the person having possession of   the records of each of   the two inventories
None D                                         reported in a., above.


        DATE OF    INVENTORY III                                              CUSTODIAN OF INVENTORY RECORDS

                  See Above                                                                         Ar Parker



Note:
(1) The inventory for the Debtor was maintained at 39 different locations with a value of approximately $5.9 milion as of        9/30/2007 and $0 as of
12/15/2007. Physical inventory counts took place in 2007 at the above thee locations.




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21. Current Partners, Offcers, Directors and Shareholders

                                          a. If the debtor is a parnership, list the natue and percentage of partership interest of each
None 0                                    member of   the partership.

                                                                                                                PERCENT AGE OF
            NAM AN ADDRESS                                      NATURE OF INTEREST                                 INTEREST




                                            b. If the debtor is a corporation, list all offcers and directors of the corporation, and each
                                            stockholder who directly or indirectly owns, controls or holds 5 percent or more of the
None 0                                      voting securties of the corporation.



                                                                                                                  NATURE        AN
  OFFICER'S NAM AND ADDRESS                                             TITLE
                                                                                                          PERCENTAGE OF STOCK

Pope & Talbot Inc.
1500 SW Firt Avenue, Ste 200                                       Holding Company                                      100%
Portland, OR 97201


Harold Staton
1500 SW Firt Avenue, Ste 200                            Chief    Executive Offcer & Director                               0%
Portland, OR 97201


R. Neil Stuar
1500 SW First Avenue, Ste 200                         Vice President & Chief Financial Offcer                              0%
Portland, OR 97201


Laui L. Cooper
1500 SW Firt Avenue, Ste 200                                           Secretar                                            0%
Portland, OR 97201


John Shephard
1500 SW First Avenue, Ste 200                                     Assistant Secretar                                       0%
Portland, OR 97201




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22. Former Partners, Officers, Directors and Shareholders


                                     a. If   the debtor is a parership, list each member who withdrew from the parership with one year
None 0                               immediately preceding the commencement of      this case.

                                                                                                                           DATE OF
              NAME                                                     ADDRESS                                           WITHDRAWAL




                                     b. Ifthe debtor is a corporation, list all offcers or directors whose relationship with the corporation
None 0                               termated with one year immediately preceding the commencement of            ths case.



                                                                                                                           DATE OF
     NAME AND ADDRESS                                                    TITLE                                           TERMINATION
Michael Flanery
1505 Lake Front Road                                                 CEO & Director                                          06/30/2007
Lake Oswego, OR 97034

Mara Pope
1717 SW Elm Street                                                  President & CFO                                          07/01/2007
Portland, OR 97201

Aaron Anderson
1535 SW Upper Hall                                             Vice President & Director                                     10/1012007
Portland, OR 97201

DeeAn Lindsley
14100NE 172ndAvenue                                                Assistant Secretar                                        10/05/2007
Brush Praire, W A 98606




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23. Withdrawals from a Partnership or Distributions by a Corporation
                                           If the debtor is a parership or corporation, list all withdrwals or distrbutions credited
                                           or given to an inider, including compensation in any form, bonuses, loans, stock
                                           redemptions, options exercised and any other perquisite durng one year inuediately
None 0                                     preceding the conuencement of     ths case.


                                                                                                             NATURE AND
   OFFICER'S NAME AND ADDRESS                                       TITLE                                  PERCENTAGE OF
                                                                                                          STOCK OWNERSHIP




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24. Tax Consolidation Group


                                    List the name and federal taxpayer identification number of the parent corporation of any
                                    consolidated group for tax purposes of which the debtor has been a member at any time within the six.
None 0                              year period immediately preceding the commencement of the case.


   PARENT CORPORATION                           FEDERAL TAX ID NUMER                                CONSOLIDATED GROUP                      SUBSIDIARY TAX ID

        Pope & Talbot, Inc                                XX-XXXXXXX                          Pope & Talbot Pulp Sales U.S. Inc.                93- I 25204 I
                                                                                              Pope & Talbot Lumber Sales U.S. Inc.              XX-XXXXXXX
                                                                                              Penn Timber, Inc.                                 XX-XXXXXXX
                                                                                              Pope & Talbot Relocation Services Inc.            XX-XXXXXXX
                                                                                              P&T Power Company                                 XX-XXXXXXX




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25. Pension Funds

                                          List the name and federal taxpayer identification number of any pension
                                          fud to which the debtor, as an employer, has been responsible for
                                          contrbuting at any time with the six-year period imediately preceding
None 0                                    the commencement ofthe case.


                 NAME                                         FEDERA TAX ID NUMBER




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                      DECLARTION CONCERNING DEBTOR'S STATEMENTS

    DECLARATION UNDER PENALTY OF PERJURY ON BEHAF OF A CORPORATION OR PARTNERSHIP

I, R. Neil Stuar, Vice President and Chief             Financial Offcer of       Pope & Talbot Lumber Sales, Inc.,
named as the debtor in these cases, declare under penalty of perjur that I have read the forgoing Statement of
Financial Affairs, consisting of30 sheets, and tht it is tre and correct to the best of            my knowledge, information, and belief.




si2 ;tdL                                                                           Date
                                                                                                 i /If /09


The penalties for making a false statement of concealing property: Fine of up to $500.000 or imprisonment for up to 5
years or both. 18 u.s.e. Sees. 152 and 3571.




                                                                    Page 30 000                                         SOFA Lumber Sales
